       Case 1:23-mi-99999-UNA Document  2282-9 Filed 07/19/23 Page 1 of 23 e-Filed 3/3/2023 4:46 PM
                                  2023CV00526




                                                                                                         Tiki Brown
                                                                                                Clerk of State Court
                     IN THE STATE COURT OF CLAYTON COUNTY                                  Clayton County, Georgia
                                                                                                    Hannah Lowery
                                STATE OF GEORGIA

 RONALD WRIGHT,

                 Plaintiff,                         CASE ACTION
                                                             2023CV00526
 vs.                                                FILE NO.:

 SANCHEZ ARREDONDO and COBRA
 CARRIER, LLC,                                      JURY TRIAL DEMANDED


                 Defendants.

        RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS

        Plaintiff hereby certifies that a true and correct copy of the following was delivered for

service with the Summons and Complaint:

   1. Plaintiff’s First Request for Admissions to Each Defendant;
   2. Plaintiff’s First Interrogatories to Each Defendant;
   3. Plaintiff’s First Request for Production of Documents to Each Defendant;

               This 3rd day of March, 2023.




                                                          Respectfully submitted,

                                                          /s/ Edward Hardrick
                                                          EDWARD HARDRICK, ESQ.
                                                          Georgia Bar No. 606792
                                                          Attorney for Plaintiff
 Morgan & Morgan, PLLC
 178 S Main Street
 Unit 300
 Alpharetta, Georgia 30009
 Main: (770) 576-7634
 (Fax): (770) 576-7684
 ehardrick@forthepeople.com




                                                1
Case 1:23-mi-99999-UNA Document  2282-9 Filed 07/19/23 Page 2 of 23
                           2023CV00526




                                 2
       Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 3 of 23




                      IN THE STATE COURT OF CLAYTONCOUNTY
                                 STATE OF GEORGIA

 RONALD WRIGHT,

                 Plaintiff,
 vs.
                                                                CIVIL ACTION FILE
 SANCHEZ ARREDONDO and COBRA                                    NO.: ______________
 CARRIER, LLC,

                                 Defendants.



                  PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO
                                   DEFENDANTS

        Plaintiff submits herewith to the above-named Defendant, pursuant to O.C.G.A. § 9-11-36

for response within forty-five (45) days after service hereof, the following request for admissions,

for purposes of the pending action only, subject to all objections that may be interposed at the trial

of the case:

                                                   1.

        Please admit that this action brought against the Defendants properly and correctly name

the parties to be sued in this case.

                                                   2.

        Please admit that jurisdiction for the Complaint filed by Plaintiff is properly brought before

this Court in Clayton County, Georgia.

                                                   3.

        Please admit that the service of process against the Defendants was proper.
      Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 4 of 23




                                                    4.

        Please admit that Defendant SANCHEZ ARREDONDO, who operated the tractor-trailer

vehicle had permission to operate the tractor trailer from and/or was operating the tractor-trailer

on behalf of Defendant Cobra Carrier, LLC at the time of the subject collision.

                                                    5.

        Please admit that Defendant SANCHEZ ARREDONDO was negligent in the operation of

a tractor trailer which resulted in the subject collision with Plaintiff's vehicle.

                                                    6.

    Admit that Defendant SANCHEZ ARREDONDO pled guilty to, paid the fine for, or

knowingly forfeited the bond to charges stemming from a citation in connection with the collision.

                                                    7.

        Please admit that Plaintiff was injured in the subject collision.

                                                    8.

        Please admit that the Plaintiff’s actions did not cause or contribute to the subject collision.


                                                    9.

        Please admit that Plaintiff incurred medical expenses for treatment of injuries resulting

from the subject collision.

                                                    10.

        Please admit that Plaintiff's medical expenses were reasonable and necessary for the care

and treatment of the injuries sustained in the subject collision.

                                                    11.

       Please admit that there are no other individuals besides Plaintiff and Defendant SANCHEZ

ARREDONDO who caused or contributed to the subject collision.
      Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 5 of 23




                                                   12.

        Please admit that there are no other individuals besides Defendant SANCHEZ

ARREDONDO who caused or contributed to the subject collision.

                                                   13.

       Please admit that you have not seen Plaintiff since the day of the accident.

                                                   14.

       Please admit that you had not seen Plaintiff at any point in time prior to the day of the

accident.



       This Request for Admissions is served upon you together with Plaintiff’s Complaint.



       This 3rd day of March, 2023.


                                             By:         /s/ Edward J. Hardrick
                                                         EDWARD HARDRICK, ESQ.
                                                         Georgia Bar No. 606792
                                                         Attorney for Plaintiff
MORGAN & MORGAN, PLLC
178 S Main Street
Unit 300
Alpharetta, Georgia 30009
Main: (770) 576-7634
Fax:     (770) 576-7684
Email: ehardrick@forthepeople.com
       Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 6 of 23




                        IN THE STATE COURT OF CLAYTON COUNTY
                                   STATE OF GEORGIA

 RONALD WRIGHT,

                   Plaintiff,
 vs.
                                                                CIVIL ACTION FILE
 SANCHEZ ARREDONDO and COBRA                                    NO.: ______________
 CARRIER, LLC,

                                Defendants.


                   PLAINTIFF’S FIRST INTERROGATORIES AND REQUEST
                    FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

TO:     Defendants by and through their counsel of record.

        Plaintiff, pursuant to O.C.G.A. §§ 9-11-33 and 9-11-34, submits herewith to Defendant for

response within forty-five (45) days after service hereof, in the form provided by law, the following

interrogatories and request for production of documents.

        The within interrogatories and request for production of documents are continuing in nature

and require supplemental response upon the discovery of other or further information or documents

pertinent thereto. In answering the following interrogatories, Defendant is required to give full

and complete information based upon the knowledge, information and belief of all agents,

employees, investigators, adjusters, and insurers of said Defendant.

                                                 1.

        State the name and address of any individual or entity with any ownership or lease interest

in the tractor or trailer (including any container or chassis if applicable) driven by Defendant

Sanchez Arredondo on the date of the incident referred to in the Complaint and describe the nature

of the interest.



                                               - Page 1 -
      Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 7 of 23




                                                 2.

        Identify all vehicle leases, subleases, trip leases, or other leasing or sharing arrangements

involving the tractor or trailer (including any container or chassis, if applicable) by Defendant

Sanchez Arredondo from 30-days prior to the subject collision to thirty days subsequent to the

collision.

                                                 3.

        Forty-Five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan Atlanta, PLLC, 178 South Main Street, Suite

300, Alpharetta, Georgia 30009, copies of any lease, contract, or other agreement regarding the

tractor or trailer (including any container or chassis, if applicable) driven by Defendant Sanchez

Arredondo on the day of the incident referred to in the complaint. In lieu of this, you may attach

copies thereof to your answers to these interrogatories.

                                                 4.

        Forty -Five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices of MORGAN & MORGAN, PLLC, 178 SOUTH MAIN STREET, SUITE

300, ALPHARETTA, GEORGIA 30009, copies of the bill of sale, title, and/or any other documents

relating to the ownership of the tractor and trailer driven (including container or chassis, if

applicable) by Defendant Sanchez Arredondo on the date of the incident referred to in the

complaint. In lieu of this, you may attach copies thereof to your answers to these interrogatories.

                                                 5.

        Forty -Five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices of MORGAN & MORGAN, PLLC, 178 SOUTH MAIN STREET, SUITE

300, ALPHARETTA, GEORGIA 30009, copies any lease, employment contract, or any other




                                               - Page 2 -
      Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 8 of 23




documents regarding the employment status of Defendant Sanchez Arredondo. In lieu of this,

you may attach copies thereof to your answers to these interrogatories.

                                                 6.

        State the point of origin, destination and reason for the trip being made by the Defendant

at the time of the incident referred to in the Complaint.

                                                 7.

        Forty-Five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices of MORGAN & MORGAN, PLLC, 178 SOUTH MAIN STREET, SUITE

300, ALPHARETTA, GEORGIA 30009, a copy of the bill of lading for any loads carried by Defendant

Sanchez Arredondo for the 8-day period preceding the incident referred to in the Complaint. In

lieu of this, you may attach copies thereof to your answers to these interrogatories.

                                                 8.

        In regard to the load being transported by Defendant Sanchez Arredondo at the time of the

subject-collision, identify:

          (a)    Where the load originated;
          (b)    The contents thereof;
          (c)    The weight of said load;
          (d)    The final destination of the load; and
          (e)    Any contracts, bills of lading, shipment documents, consignment forms, fax,
                 correspondence, or other writings pertaining to transportation of said load.

                                                 9.

        Was the Defendant’s vehicle covered by liability insurance? If so, please state the names

of all insurers providing liability insurance on said vehicle and give the limits of coverage of each

such policy.

                                                 10.


                                               - Page 3 -
      Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 9 of 23




       Has any insurer referred to above denied coverage or reserved its right to later deny

coverage under any such policy of liability insurance? If so, please explain.

                                                11.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, a copy of any policy of insurance identified in response to

Interrogatory #9 above. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.

                                                12.

       Do you contend that Plaintiff caused or contributed to the collision in question? If so, state

with particularity each and every contention made in this regard.

                                                13.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any trip reports or dispatch records in regard to Defendant Sanchez

Arredondo for the 2-week period preceding the incident referred to in the Complaint. In lieu of

this, you may attach copies thereof to your answers to these interrogatories.

                                                14.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, a copy of all driver’s logs or timecards for Defendant Sanchez

Arredondo for the 6-month period preceding the incident referred to in the Complaint. In lieu of

this, you may attach copies thereof to your answers to these interrogatories.




                                              - Page 4 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 10 of 23




                                                15.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of all weight tickets, check stubs, fuel receipts, invoices, hotel

bills and other records for any expenses incurred by Defendant Sanchez Arredondo for the 6-month

period preceding the incident referred to in the Complaint. In lieu of this, you may attach copies

thereof to your answers to these interrogatories.

                                                16.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of all daily, monthly, and annual inspection reports, and any

other inspection reports concerning the tractor and trailer (or container or chassis, if applicable)

driven by Defendant Sanchez Arredondo on the day of the incident referred to in the Complaint

for the 1-year period preceding this incident and the 6-month period following this incident. In

lieu of this, you may attach copies thereof to your answers to these interrogatories.

                                                17.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of all maintenance records, repair invoices and work orders

concerning the tractor and trailer (or container or chassis, if applicable) driven by Defendant

Sanchez Arredondo on the day of the incident referred to in the Complaint for the 1-year period

preceding this incident and the 6-month period following this incident. In lieu of this, you may

attach copies thereof to your answers to these interrogatories.




                                              - Page 5 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 11 of 23




                                                  18.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, a copy of Defendant Sanchez Arredondo’s driver qualification file,

including but not limited to:

         (a)     Application for employment;

         (b)     Copy of his CDL license;

         (c)     Driver’s certification of prior motor vehicle accidents;

         (d)     Driver’s certification of prior violations of motor vehicle laws;

         (e)     Driver’s prior employment history;

         (f)     Carrier’s inquiry into his driving record;

         (g)     Carrier’s inquiry into his employment record;

         (h)     Documents regarding carrier’s annual review of his driving record;

         (i)     Response of each state agency to carrier’s annual inquiry concerning his
                 driving record;

         (j)     Certification of driver’s road test;

         (k)     Medical examiners certificate;

         (l)     Statement setting forth in detail any denial, revocation, or suspension of
                 any license, permit or privilege to operate a motor vehicle;

         (m)     Training certificates and training documents;

         (n)     Drug testing records; and

         (o)     Any other documents.

       In lieu of this, you may attach copies thereof to your answers to these interrogatories.




                                               - Page 6 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 12 of 23




                                                19.

       Did you conduct a post-accident alcohol and controlled substance test on Defendant

Sanchez Arredondo? If so, please state:

         (a)       The date of testing;

         (b)       Who performed the test;

         (c)       Where the test was performed; and

         (d)       The results of the test.

                                                20.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of any printouts, records, correspondence, memoranda, or other

documents concerning post-accident alcohol and controlled substance testing of Defendant

Sanchez Arredondo. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.

                                                21.

       If post-accident testing was not performed on Defendant Sanchez Arredondo, please state

the reasons such testing did not occur.

                                                22.

       Was a post-accident report completed and forwarded to the Federal Highway

Administration? If not, please state the reasons it was not completed.

                                                23.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,




                                              - Page 7 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 13 of 23




Alpharetta, Georgia 30009, a copy of any post-accident report. In lieu of this, you may attach

copies thereof to your answers to these interrogatories.

                                                24.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, the accident register for Defendant for the 1-year period preceding the

subject-accident.   In lieu of this, you may attach copies thereof to your answers to these

interrogatories.

                                                25.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of any driver manuals, guidelines, rules or regulations issued to

drivers by Defendant or kept by Defendant. In lieu of this, you may attach copies thereof to your

answers to these interrogatories.

                                                26.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of any reports, memoranda, notes, logs or other documents

evidencing any complaints about Defendant Sanchez Arredondo. In lieu of this, you may attach

copies thereof to your answers to these interrogatories.

                                                27.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan Atlanta, PLLC, 178 South Main Street, Suite

300, Alpharetta, Georgia 30009, copies of all safety manuals, brochures, handouts, literature,


                                              - Page 8 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 14 of 23




and/or other written documents pertaining to safety provided to drivers by Defendant or kept by

Defendant (including any provided to Defendant Sanchez Arredondo). In lieu of this, you may

attach copies thereof to your answers to these interrogatories.

                                                 28.

       Please state in detail the factual basis for each defense you have raised in your Answer

and/or response to the Complaint in the above-styled action.

                                                 29.

       State the name, address, and telephone number for the President, Safety Director, Federal

Safety Regulation Compliance Officer, and the Dispatcher for the trip which ultimately resulted

in the collision, and all persons who interviewed and were involved with the hiring or associating

of Defendant Sanchez Arredondo.

                                                 30.

       State whether the tractor involved in the collision contained or utilized an on-board

recording device, an on-board computer, tachograph, trip monitor, trip recorder, trip master,

Qualcomm, Vorad, ECM or device known by any other name which records information

concerning the operation of the tractor.

                                                 31.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of any printouts, records or documents produced by any device

identified in response to the preceding interrogatory for the 6-month period prior to the incident

referred to in the complaint. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.




                                               - Page 9 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 15 of 23




                                                     32.

       Describe the tractor operated by Defendant Sanchez Arredondo at the time of the collision,

including but not limited to the year, make, and model, mileage, maintenance history, all features,

specifications, special equipment, governors, on-board recording devices, radar detectors, CB

radios, or other descriptive information regarding the tractor and trailer unit.



                                                     33.

       Has Defendant ever been cited by the Department of Transportation, Public Service

Commission, or Federal Highway Administration for violation of the Federal Motor Carrier Safety

Regulations? If so, please state for each instance:

            (a)    The date of the violation;

            (b)    A description of the violation;

            (c)    The location where the violation occurred;

            (d)    The agency issuing the citation; and

            (e)    The ultimate disposition of the charges.

                                                     34.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any document concerning any violation identified in response to the

preceding interrogatory. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.

                                                     35.

       Has Defendant ever been disqualified or placed out-of-service? If so, please state for each

instance.



                                                - Page 10 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 16 of 23




        1.The dates of disqualification; and

        2.The reason for the disqualification.

                                                  36.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any document concerning any disqualification or out-of-service order

identified in response to the preceding interrogatory. In lieu of this, you may attach copies thereof

to your answers to these interrogatories.

                                                  37.

       Identify the name and address of any repair facility which performed repairs or

maintenance on the tractor and trailer (including any container or chassis, if applicable) driven by

Defendant Sanchez Arredondo on the date of the incident referred to in the complaint for the 1-

year period preceding the incident and 6-month period after the incident.

                                                  38.

       State the extent of any training provided to Defendant Sanchez Arredondo by this

Defendant or any outside agency since the date of Defendant Sanchez Arredondo’s application for

employment or the date he began driving for this Defendant, whichever came first.

                                                  39.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of any documents regarding any training received by Defendant

Sanchez Arredondo. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.




                                               - Page 11 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 17 of 23




                                                 40.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any permits or licenses regarding the tractor and trailer driven by

Defendant Sanchez Arredondo and the load transported by Defendant Sanchez Arredondo at the

time of the incident referred to in the Complaint. In lieu of this, you may attach copies thereof to

your answers to these interrogatories.

                                                 41.

       Please explain the nature of the employment relationship between this Defendant and

Defendant Sanchez Arredondo (i.e., lease operator, company driver, temporary driver, etc.),

including, but not limited to: the date the employment relationship began and – if the employment

relationship has been terminated – the date of such termination along with the identity of the person

who terminated such driver.

                                                 42.

       With respect to Defendant Sanchez Arredondo, please state the driver’s mode of

compensation.

                                                 43.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, the payroll information concerning said driver for the 6-months prior

to and the 2-months subsequent to said collision and his pay check for the time period covering

the date of the collision. (Note: Plaintiff’s counsel is not requesting copies of pay checks unless

otherwise specified but requests the individualized payroll record ledger sheet indicating the




                                              - Page 12 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 18 of 23




amount of pay, miles driven for the time periods specified, etc.). In lieu of this, you may attach

copies thereof to your answers to these interrogatories.

                                                 44.

       Does this Defendant, on its own or through its insurer, or through any other person or

business, obtain information from any private source or governmental agency concerning the

driving history, driving infractions, and motor vehicle records of drivers it employs? If so, please

state the name and business of each entity through which such information was requested or

obtained concerning the driver involved in the subject collision, and the dates upon which such

information was obtained concerning the driver operating the commercial truck involved in the

subject-collision.

                                                 45.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, all motor vehicle records or reports of any kind received from any

private corporation or service, or any governmental entity relative to the driving history, driving

record, and driving infractions of Defendant Sanchez Arredondo since the commencement of said

driver’s employment with this Defendant up and through the date of trial. In lieu of this, you may

attach copies thereof to your answers to these interrogatories.

                                                 46.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, all documents and materials sent to or received from the Director of

Regional Motor Carrier Safety of the Office of the Federal Highway Administration, the Georgia

Regulatory Authority, or any other governmental agency relative to the subject collision which is


                                              - Page 13 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 19 of 23




made the basis of this lawsuit. In lieu of this, you may attach copies thereof to your answers to

these interrogatories.

                                                  47.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, all certificates of authority, filings, registrations, license, permits, or

other related documents issued by or sent to any governmental entity in regard to this Defendant

or this Defendant’s operations. In lieu of this, you may attach copies thereof to your answers to

these interrogatories.

                                                  48.

       Please identify all automobile accidents and/or moving violations for Defendant Sanchez

Arredondo prior to and subsequent to the incident referred to in the Complaint, including the date

of the event, the location, the jurisdiction and a description of the event.

                                                  49.

       Please state Defendant Sanchez Arredondo’s date of birth, social security number, and

driver’s license number.

                                                  50.

       Please identify the cell phone number and service provider for all cell phones owned, used

or operated by Defendant Sanchez Arredondo on the date of the incident.

                                                  51.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, copies of cellphone records showing incoming and outgoing calls,




                                               - Page 14 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 20 of 23




texts and messages for the date of the incident. In lieu of this, you may attach copies thereof to

your answers to these interrogatories.

                                                 52.

       State the name and address of any person, including any party, who, to your knowledge,

information or belief:

         (a)    Was an eyewitness to the incident complained of in this action;

         (b)    Has some knowledge of any fact or circumstance upon which your defense
                is based;

         (c)    Has conducted any investigation relating to the incident complained of or the
                background, employment, medical history or activities of Plaintiff.

                                                 53.

       To your knowledge, information or belief, has any person identified in answering the

preceding interrogatory given any statement or report in connection with this action and/or the

incident complained of in this action? If so, describe such statement or report and give the name

and address of the person having custody and control thereof.

                                                 54.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, all such statements or reports. In lieu thereof, you may attach copies

to your answers to these interrogatories.

                                                 55.

       To your knowledge, information or belief are there any videotapes, photographs, plats or

drawings of the scene of the incident referred to in the Complaint, the vehicles or Plaintiff? If so,

please describe such videotapes, photographs, plats or drawings and give the name and address of




                                              - Page 15 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 21 of 23




the person having custody and control thereof.

                                                  56.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any videotapes, photographs, plats or drawings. In lieu thereof, you

may attach copies to your answers to these interrogatories.

                                                  57.

       If you intend to call any expert or technician as a witness at the trial of this action, state the

subject matter on which he is expected to testify and state in detail the opinions held by each such

expert or technician and give a complete summary of the grounds for each opinion held.

                                                  58.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any and all videotapes, photographs, reports, data, memoranda,

handwritten notes, or other document reviewed by and/or generated by an individual identified in

response to the preceding interrogatory. In lieu of this, you may attach copies thereof to your

answers to these interrogatories.

                                                  59.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any documents obtained through a request for production of

documents or subpoena. In lieu of this, you may attach copies thereof to your answers to these

interrogatories.




                                               - Page 16 -
     Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 22 of 23




                                                   60.

       In regard to any document which has not been produced on grounds of privilege, please

state the following:

         (a)     The date each document was generated;

         (b)     The person generating each document;

         (c)     The present custodian of each document; and

         (d)     A description of each document.

                                                   61.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any medical records, videotapes, photographs, or other evidence

concerning, referencing, or depicting plaintiff. In lieu of this, you may attach copies thereof to your

answers to these interrogatories.

                                                   62.

       Forty-five (45) days after service hereof, you are requested to produce for inspection and

copying by Plaintiff at the offices Morgan & Morgan, PLLC, 178 South Main Street, Suite 300,

Alpharetta, Georgia 30009, any PSP report or similar report from the FMCSA on the defendant driver

showing his prior accidents and inspection history. In lieu of this, you may attach copies thereof to

your answers to these interrogatories.

       SERVED WITH COMPLAINT.




                                    (Signature is on the next page.)



                                                - Page 17 -
    Case 1:23-mi-99999-UNA Document 2282-9 Filed 07/19/23 Page 23 of 23




      This 3rd day of March, 2023.


                                     By:           /s/ Edward J. Hardrick
                                                   EDWARD HARDRICK, ESQ.
                                                   Georgia Bar No. 606792
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                                     - Page 18 -
